                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


MELISSA BRUMLEY                                    )
                                                   )
              Plaintiff,                           )
                                                   )
      v.                                           )    CASE NO. 17-CV-677-AAT
                                                   )
UNITED PARCEL SERVICE, INC.                        )
                                                   )
              Defendant.                           )




                           PLAINTIFF’S RESPONSE IN OPPOSITION
                AND COUNTER MOTION FOR SUMMARY JUDGEMENT


                                           Summary
      This is a disability discrimination case based upon a permanent work restriction. United

Parcel Services doesn’t know how to comply with the ADAAA, which is why they de facto violate

the statute, and is why they actually cite Sutton Airlines in their brief. Sutton Airlines was

specifically and loudly overturned by Congress in 2009. Perhaps, UPS “does not ever allow

workers with permanent work restrictions”, because they did not know Sutton Airlines was

overturned.

      In the present case, Ms. Brumley’s primary classification was small sort. Ms. Brumley was

released to small sort by her doctor. UPS was short handed in small sort and they needed her.

Brumley clocked in to perform her job as a part time sorter. Yet, UPS sent her home for 3 months

without pay, which is how long it took them to read, “May return to small sort”.



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   Case 3:17-cv-00677 Document 21 Filed 12/05/17 Page 1 of 14 PageID #: 201
       This Court cannot issue a summary judgment in favor of the Defense for three reasons.

First, UPS has credibility problems, because they testified under oath in a workers compensation

case. Discriminatory intent is clear when UPS varies the small sort job description depending on

the forum. Sort is a physically light job in the workers compensation hearing, but a heavy job for

the purpose of ADA. Second, it is widely held whether a job duty is an “essential function” is a

question of fact. A third question the jury must decide, is whether Ms. Brumley was bullied into

lifting her restriction, or whether she did so voluntarily.

       The Court can issue a summary judgment as a matter of law in favor of the Plaintiff on the

legality of UPS policies and procedures. Two UPS companywide policies are de facto violations

of the ADAAA. The most egregious policy is one used to avoid accommodation of permanent

work restrictions. UPS claims an essential function of every employee is that that they must, at

any time, be available to “substitute” in another employee’s position. Said fiction, removes the

ADA obligation to ever accommodate lifting restrictions. It necessarily excludes a class of the

disabled from accommodation.

       The second policy surrounds the disappearance of available accommodation when a work

restriction transfers from temporary to permanent. The discrimination occurs when a disability

that is temporary in nature is treated disparately from a disability that is exactly the same, but

permanent. Thus, while reasonable accommodation exists when the restriction is temporary, UPS

blocks the accommodation when the restriction becomes permanent. The accommodation is still

available, but an arbitrary and discriminatory wall is thrown up to rid themselves of the disabled.




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   Case 3:17-cv-00677 Document 21 Filed 12/05/17 Page 2 of 14 PageID #: 202
         Finally, UPS cannot “accommodate” an injured worker with permanent work restrictions,

by telling them the only way to return to work is to become “un-disabled”. It is undisputed that

HR personnel, Elveta Cooper did just that. Defendant’s undisputed facts, relay said policy as

follows:

           Cooper replied that, if Dr. Klekamp removed Brumley’s lifting and driving
           restrictions, then Brumley could return to work without the need for an
           accommodation. (Brumley, 95:15-96:11). Brumley left the meeting planning
           to get her restrictions lifted, and UPS kept the interactive process open until it
           verified that her restrictions were lifted. (Brumley, 198:23-199:8). Defense
           undisputed fact. (UDF 12)


  I.        United Parcel Services, Inc. violates the antidiscrimination policy found in the
            Americans with Disabilities Act, Amendment Act (ADAAA) when UPS does not
            allow permanent work restrictions.
         Under the Americans with Disabilities Act, no covered entity shall discriminate against a

qualified individual with a disability in regard to job application procedures, the hiring,

advancement, or discharge of employees, employee compensation, job training, and other terms,

conditions, and privileges of employment. 42 U.S.C.S. § 12112(a). Pursuant to ADA 42 USC

§12101, Ms. Brumley was an employee and a member of a protected class. At all times UPS, Inc.

qualified as an employer with more than 15 employees. UPS discriminated against Ms. Brumley

based upon her disability, when they sent her home without pay because of a permanent work

restriction. Discriminatory intent is proven by the statements made by Richard Bonee. (UDF 47,

48)

         The UPS physician performed a functional capacity test, was well aware of her job

requirements, and he returned her to work with permanent work restrictions that were within her

classification of small sort. (Undisputed Fact Number 15, 30, 42, and 45(hereafter referred to as

UDF). She clocked in, and was loudly told in the middle of a room in front of 3 witnesses, “UPS


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      Case 3:17-cv-00677 Document 21 Filed 12/05/17 Page 3 of 14 PageID #: 203
does not allow permanent work restrictions”. (UDF 47, 48,) Small sort supervisor, James Jackson

was ready to schedule her on small sort, and in fact needed her. (UDF 50).

   To recover for discrimination under the Americans with Disabilities Act, Ms. Brumley must

show that she (1) is disabled, (2) otherwise qualified to perform the essential functions of the

position, with or without accommodation, and (3) suffered an adverse employment action because

of his or her disability. In the present case, Richard Bonee provided direct evidence when standing

in the middle of the room and loudly telling Ms. Brumley to clock out because UPS “does not

allow permanent work restrictions”. (UDF47, and 48)

   A. Disabled requirement

       First, the plaintiff must establish a prima facie case by showing "that [s] he is disabled and

otherwise qualified for the position, either with or without reasonable accommodation." Keith v.

Cnty. of Oakland, 703 F.3d 918, 923 (6th Cir. 2013). Ms. Brumley had a permanent disability in

the form of a work restriction of no lifting over 30 pounds and no driving. (UDF 6 and 15)

However, the Court need not reach this question because UPS regarded her as disabled, thus

fulfilling this requirement. (UDF 54)

       Mr. Bonee made Ms. Brumley clock out on or about July 29, 2016 for one reason, her

permanent work restriction.(UDF 47 and 48) He refused to let her work until all restrictions were

lifted on or about October 31, 2016. UPS is well aware, that a permanent work restriction is a

perceived disability, when they precluded her from each and every positon at UPS because of her

lifting restrictions. Watts v. UPS, 378 Fed. Appx. 520, U.S. App. LEXIS 10257, 2010 FED App.

0310N (6th Cir. 2010). “When a defendant flatly bars a plaintiff from working at any job at the

defendant's company, that is generally sufficient proof that the employer regards the plaintiff as




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   Case 3:17-cv-00677 Document 21 Filed 12/05/17 Page 4 of 14 PageID #: 204
disabled in the major life activity of working so as to preclude the defendant being awarded

judgment as a matter of law” Watts at 526. See also, 42 U.S.C.S. § 12102(2)(C). 1

        2. Essential functions

        Next, Ms. Brumley was “ (2) otherwise qualified to perform the essential functions of the

position, with or without accommodation”. Her work release from the UPS doctor actually states,

“may return to local sort”. (UDF 45) Said medical opinion in the only evidence in front of this

Court on Ms. Brumley’s qualifications to return to her job. All packages in small sort are ten

pounds or less, and most are letters and smaller packages. (UDF 17 and 18). They must be small

enough to fit through a small shute. (UDF 19).

        UPS claims an essential function of small sort is lifting 75 pounds based upon two

arguments. First, UPS claims Ms. Brumley might be required to “temporarily fill in” for other

employees as a temporary cover driver. Ms. Brumley’ job classification per the union was small

sort. (UDF 16). While classified separately from all other sort in the Union contract, (UDF 25),

small sort has no formal written description. (UDF 23) A part time cover driver is not an essential

function for small sort and because “Part-time employees” are precluded from working as drivers

by the Union. (UDF 31). One exception is that a part time employee “may” work as a temporary

cover driver. (UDF 32) Temporary cover drivers may not be used to supplement the driving force.

(UDF 33). The tenuous nature of a temporary cover driver, job description, and fact that MS.

Brumley no longer performs same, are all evidence that TCD is not an essential function of small

sort.




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 Here, Plaintiff’s medical conditions did cause impairment to major life activities such as working as a
delivery driver or lifting over 30 pounds, but she was otherwise qualified to work in sort.


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    Case 3:17-cv-00677 Document 21 Filed 12/05/17 Page 5 of 14 PageID #: 205
       Second, UPS claims all personnel in the hub must be able to lift 75 pounds in the off chance

that they are needed at a different job. Plaintiff refers to this requirement as the “substitute

possibility”. This “substitute possibility” is a fiction that UPS relies upon to forever avoid the

accommodation requirements of the ADAAA. Unlike other companies, UPS forever excuses

themselves from accommodating an entire class of disability, i.e. those with lifting restrictions.

Clearly, small sort does not require Ms. Brumley to lift 75 pounds. While UPS provides a “job

description”, said description includes much heavier jobs and there is no delineation. (UDF 24,

25, and 26) Ms. Brumley has never lifted 75 pounds in small sort. (UDF 30). Supervisor Grissom

describes it as a light job. (UDF 16, 18). Again, Bonee testified that small sort “might” fill the

mail bags to the top, but Ms. Brumley having performed the job for 5years, says using one bag or

three is entirely up to the sorter. (UDF 20) AS there here is no requirement to fill mail bags to the

top, Plaintiff can fill 3 bags at 25 pounds. (UDF 20) This was a discussion that should have taken

place on July 29, 2016, had UPS been acting in good faith.

       The Sixth Circuit holds that a question of “essential function” is a jury question. In Keith

v. Cnty. of Oakland, 703 F.3d 918, 923 (6th Cir. 2013), the Sixth Circuit states whether a job

function is essential "is a question of fact that is typically not suitable for resolution on a motion

for summary judgment." Keith, 703 F.3d at 926. Essential functions are "the fundamental job

duties of the employment position the individual with a disability holds or desires. The term . . .

does not include the marginal functions of the position." 29 C.F.R. § 1630.2(n)(1). A job function

may be considered essential because (1) the position exists to perform the function, (2) a limited

number of employees are available that can perform it, or (3) it is highly specialized. Id. §

1630.2(n)(2). "Whether a function is essential is evaluated on a case-by-case basis by examining

a number of factors." Keith at 925 and 926; see also D'Angelo v. ConAgra Foods, Inc., 422 F.3d


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   Case 3:17-cv-00677 Document 21 Filed 12/05/17 Page 6 of 14 PageID #: 206
1220, 1230 (11th Cir. 2005), E.E.O.C. v. Ford. Motor Co., 782 F.3d 753, 762 (6th Cir. 2015) (en

banc) (applying the regulatory factors to determine if a particular work function was essential);

and 29 C.F.R. § 1630.2(n).2

        Even though a jury question, UPS’s position makes no sense, as Plaintiff clocked in to

work small sort. (The hours, the wages, the time of day are all different for small sort). Thus,

Plaintiff was clearly not trying to work as a temporary cover driver. It is well settled that at the

summary judgment stage, the employer's judgment will not be dispositive on whether a

function is essential when evidence on the issue is "mixed." Keith, 703 F.3d at 926; see also,

Feldman v. Olin Corp., 692 F.3d 748, 755 (7th Cir. 2012). If an employer's judgment about what

qualifies as an essential task were conclusive, "an employer that did not wish to

be inconvenienced by making a reasonable accommodation could, simply by asserting that the

function is essential to avoid the clear congressional mandate that employers make reasonable

accommodations." Holly v. Clairson Indus., L.L.C., 492 F.3d 1247, 1258 (11th Cir.

2007) (quoting 42 U.S.C. § 12112(b)(5)(A)) (internal quotation marks omitted).

        Written job descriptions are also not dispositive. See Davidson v. Am. Online, Inc., 337

F.3d 1179, 1191 (10th Cir. 2003) ("[A]n employer may not turn every condition of employment

which it elects to adopt into a job function, let alone an essential job function, merely by including

it in a job description."). This is especially true when UPS’s proffered written job description

covers multiple jobs other than small sort. (UDF 24).




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          Factors to be weighed by a jury: "the employer's judgment and written description of the
job”. 42 U.S.C. § 12111(8); the amount of time spent on the job performing the function; the
consequences of not requiring the incumbent to perform the function; the terms of a collective bargaining
agreement: the work experience of past incumbents in the job; and/or; the current work experience of
incumbents in similar jobs.29 C.F.R. § 1630.2(n)(3)(iii)-(vii).


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   Case 3:17-cv-00677 Document 21 Filed 12/05/17 Page 7 of 14 PageID #: 207
        Nonetheless, to overcome summary judgment, the Plaintiff generally must identify the

specific job [s] he seeks and demonstrate that [s]he is qualified for that position." Id. UPS claims

an essential function small sort is that “it is more efficient” to fill the mail bags to the top. They do

not state it is an essential function to fill the mail bags to the top, nor can they. (UDF 21) Small

sort personnel have 100% control on how full a bag is before transferring it to pick up. (UDF 20)

Thus, an employee with a lifting restriction of 30 pounds has the absolute right to fill the mail bags

half way as she is in complete control. (UDF 20)

        The UPS “substitute possibility” policy violates the ADAAA as matter of law. Whether a

company policy violates the ADAAA is a question of law and is a proper question for this court in

the summary judgment phase. The facts of the current case are a clear example of this violation.

Ms. Brumley was cleared by the UPS doctor to work small sort. (UDF 42, 45) The one and only

reason she was sent home, was pursuant to a company policy that she “might” be called as a

substitute to work as a temporary cover driver. (UDF 28, 29). Pursuant to this policy, Mr. Bonee

made it clear to Plaintiff and to all other workers, that they would not have a job if there were work

restrictions. (UDF 28, 29, 47, 48) UPS presents a company requirement that all workers must be

available for all positions. (Whether needed or not and whether actually ever required to work

elsewhere). Said position eliminates any obligation to accommodate a lifting restriction below 75

pounds, and eliminates the need to search for accommodation on this class of the disabled.

        Companies, nationwide, could simply avoid accommodation by enacting a “substitute

possibility” as an essential job function. Such a policy, if enacted by all companies, renders the

ADA protections for injured workers meaningless. Such a policy basically informs all UPS

workers, that if you have any lifting restriction below 75 pounds, you will lose your job. So said,

Elveta Cooper in HR to Melissa Brumley on or about October 11th of 2017. (UDF 12) Upon


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   Case 3:17-cv-00677 Document 21 Filed 12/05/17 Page 8 of 14 PageID #: 208
hearing there would be no accommodation based upon this “be ready in case you are needed to

substitute”, Ms. Brumley was instructed to lift her restrictions or lose her job. (Ms. Brumley

immediately called her doctor, set an appointment and had her restrictions lifted in a fiction.) (UDF

12) Thus, UPS required Ms. Brumley to lift her disability. UPS argues that lifting the restriction

was Ms. Brumley’s idea. Said argument makes no sense, given she filled out the paperwork,

attended the meeting, and filed this lawsuit. She lifted the restriction to return to work because it

was the only way to save her possition.

       If “substitute ready” is an essential function of the job, an employee who is able to perform

their usual and customary job can be sent home. (And in this case was). A speculative, “someday”,

“perhaps”, “maybe”, or maybe never cannot be an “essential function”, as a matter of law. Plaintiff

requests summary judgment that this policy de facto violates the ADAAA in her case.


   B. Undue hardship


   Once the plaintiff has established she was disabled, but was able to perform the essential

functions of her position, "the burden shifts to the defendant to show that accommodating the

plaintiff would impose an undue hardship on the operation of its business." Monette v. Elec. Data

Sys. Corp., 90 F.3d 1173, 1186 (6th Cir. 1996), abrogated on other grounds by Lewis v. Humboldt

Acquisition Corp., 681 F.3d 312, 315-16 (6th Cir. 2012) (en banc). Undue hardship is not equal to

inconvenient.

       Plaintiff is entitled to her own summary judgment, as UPS has no basis to prove an undue

hardship in placing her in small sort. Indeed, the undue hardship was sending her home.

Supervisor Jackson needed her and the position was open. (UDF 46, 49, 59) Manager Richard

Bonee even texted “good deal”, when she was released to small sort. (Plaintiff Exhibit one). He


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   Case 3:17-cv-00677 Document 21 Filed 12/05/17 Page 9 of 14 PageID #: 209
was using drivers at a much higher pay rate to cover small sort. Her ability to be “substitute ready”

as a cover driver in no way affected her ability to perform her usual and customary duties in sort,

nor does UPS claim any. A cover driver is not an essential function of small sort. This fiction is

further seen, when Plaintiff continues to work small sort but has worked as a temporarycover driver

since January of 2017. (UDF 39).


   II.      The UPS accommodation process is a form over substance procedure that violates
            their Union agreement in bad faith, and purposefully serves to unreasonably delay a
            return to employment.

         It unlawful for an employer to "discriminate against a qualified individual on the basis of

a disability." 42 U.S.C. § 12112(a). The statute defines "discriminate" to include "not making

reasonable accommodation to the known physical . . . limitations of an otherwise qualified

individual with a disability" unless the employer "can demonstrate that the accommodation would

impose an undue hardship." Id. § 12112(b)(5)(A). An "otherwise qualified individual" is one who

"with or without reasonable accommodation, can perform the essential functions of the

employment position that such individual holds or desires." Id. § 12111(8).

   To provide a reasonable accommodation, an employer may be required to modify the

responsibilities of a disabled employee's existing job or transfer the employee to a vacant position

with different responsibilities. See 29 C.F.R. § 1630.2(o); Kleiber v. Honda of Am. Mfg., Inc., 485

F.3d 862, 870 (6th Cir. 2007). If an employee seeks to stay in his or her current job, the term

reasonable accommodation means: "Modifications or adjustments to the work environment, or to

the manner or circumstances under which the position held or desired is customarily performed,

that enable an individual with a disability who is qualified to perform the essential functions of

that position [to stay in the position]." 29 C.F.R. § 1630.2(o). A suggested accommodation is not




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   Case 3:17-cv-00677 Document 21 Filed 12/05/17 Page 10 of 14 PageID #: 210
reasonable if it requires eliminating an "essential" function of the job. Id.; see also 42 U.S.C. §

12111(8).

    While there is no time frame, UPS is governed by participating in the process “in good faith”.

There is no legal reason why Ms. Brumley was not returned to small sort on July 29, 2016.3 The

Union contract required UPS to address accommodation at the Hub on the day Ms. Brumley

returned, yet they sent forms to Jürgen in Kansas. (UDF 34, 53, 56, 57, 58, 59)

    UPS first implies, Ms. Brumley did not request accommodation. (After also arguing she was

not disabled). This argument is nonsense, in light of her clock in, her request to work, and her

filing of grievances to work. (UDF 63) Does UPS claim accommodation cannot be requested

through the supervisor? If so, that would be another country wide UPS policy that violates the

ADA.

    Not only does the ADA allow informal requests for accommodations, the Union agreement

with UPS requires same. (UDF 56, 57) The Union agreement states, the accommodation process

should take place at the hub, with the union and management. (id) UPS had ample opportunity on

the day Ms. Brumley was released. The accommodation process, per the Union contract, should

have taken place on July 29, 2016. (UDF 57). Instead, Ms. Brumley had to continually ask for

the accommodation/or job through 8 grievances over a two month period. (UDF 63). All the while,

Jürgen was sending her forms from Kansas so her doctor could once again write, “May return to

local sort”. These forms were in no way reasonable or necessary to the issues which should have

been resolved on July 29, 2016.




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 UPS asked Ms. Brumley multiple questions that require legal conclusions during her deposition. It is clear, Ms.
Brumley does not understand her rights nor the various legal terms thrown at her during the deposition. This lack of
knowledge is the reason Ms. Brumley needed counsel to represent her.

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    Case 3:17-cv-00677 Document 21 Filed 12/05/17 Page 11 of 14 PageID #: 211
          Ms. Brumley arrived at the scheduled time for local/small sort. (49). UPS had a functional

capacity test in hand. (UDF 43) UPS had a doctor excuse specifically stating, “May work in small

sort”, (UDF 51 and Plaintiff Exhibit one) the Union steward was present. (UDF 28, 29).          Mr.

Jackson, her direct supervisor in small sort, was present and wanted her to work. (UDF 46).

Instead, they violated the ADA, sent her home, left her sitting at home without pay for the August,

September, and October, while “Jürgen” in Kansas pushed paper. (UDF 28, 29, 30, 47, 48, 53, 61)

While UPS studied the phrase, “may return to local sort” for three months, a position remained

open and ready for Ms. Brumley within her restrictions. All of this was a de facto violation of the

Union Contract (UDF 56, 57, 58, 59)

      UPS offers no evidence of hardship in allowing Ms. Brumley to perform the join small sort for

which she was well qualified, for which was open, and for which a worker was needed. (UDF 46)

UPS cannot argue good faith, when they had a functional capacity test in hand, release to small

sort in hand, and a signed medical report from their own doctor releasing her to local sort. (UDF

48, 49, 50, 51, ).Therefore, a company policy requiring “Jürgen” in Kansas to transfer said

information to an internal company form, delays accommodation in bad faith, and thus violates

the ADAAA.

          There is no genuine issue of material fact for a jury when UPS violated their own contract

with the Union, and Plaintiff requests a summary judgment in her favor on the failure to

accommodate her from July 31, 2016 through October 31, 2016.




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      Case 3:17-cv-00677 Document 21 Filed 12/05/17 Page 12 of 14 PageID #: 212
   III.      As a matter of law, UPS did not act in good faith, when they violated the Union
             contract, which requires the interactive process at the Hub level.

          The Union contract requires UPS to deal with the local union on the issue of

accommodation. UPS did not question supervisor James Jackson, who knew the job requirements

and was shorthanded. Not only does the “paperwork” in Kansas make no sense, it violates the

expedience bargained for by the Union. UPS claims the Plaintiff stopped the accommodation

process. Plaintiff claims UPS used the paper shuffle process along with supervisor bullying, to

break down the process. If this process fails to lead to reasonable accommodation of the disabled

employee's limitations, responsibility will lie with the party that caused the breakdowns. Rorrer

v. City of Stow, 743 F.3d 1025, 2014 U.S. App. LEXIS 3592, 2014 FED App. 0038P (2014 6th

Cir.), 29 Am. Disabilities Cas. (BNA) 447, 16 Accom. Disabilities Dec. (CCH) P16-005, 2014 WL

715782. There is a genuine question of material fact as to who caused the “breakdown”. Plaintiff

claims, Mr. Bonee made it clear that she would not return to that Hub with restrictions. (UDF 28,

29, 47).

          Richard Bonee clearly held the Plaintiff’s position hostage, when he implemented policy

of “no work restrictions”. (UDF 28, 29, 30). UPS failed to have the conversation on July 29, 2016

when everyone was present, the medical report and functional capacity tests were in UPS’s

possession, the Union was present, and the supervisor was present.

                   Elveta Cooper admits to violating the ADA. A company simply cannot
          “accommodate” a disability by instructing the disabled to “get rid of it”, “lie about
          it”, or pretend one doesn’t have it”. That is NOT accommodation. That is precisely
          what UPS did, when instructing Ms. Brumley that she could only return to work, if
          her doctor lifted her restrictions. In the final meeting, Cooper tells Ms. Brumley
          she can have her job, if her doctor will, in effect, withdraw her disability. “Cooper
          replied that, if Dr. Klekamp removed Brumley’s lifting and driving restrictions,
          then Brumley could return to work without the need for an accommodation.
          (Defense undisputed fact 12) (Brumley, 95:15-96:11). Brumley left the meeting
          planning to get her restrictions lifted, and UPS kept the interactive process open


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   Case 3:17-cv-00677 Document 21 Filed 12/05/17 Page 13 of 14 PageID #: 213
       until it verified that her restrictions were lifted. (Brumley, 198:23-199:8).”(UDF
       12).

                                       Conclusion

       Plaintiff was bullied by an 81 billion dollar company, to remove her disability for

the right of a paycheck. This is a blatant violation of the ADA protections, and Plaintiff

asks the Defendants Summary Judgement be dismissed. Plaintiff asks an order issue by

the Court finding summary judgment in Plaintiff’s favor, in that the two policies

complained of are a discriminatory as a matter of law.



Withdrawal of claim:

Plaintiff withdraws her claim for workers compensation retaliation, as her claims can fall

squarely within the ADA component and retaliation adds no new damages.



Withdrawal of Claim:

Plaintiff withdraws her claim for FMLA violations as said claims fall squarely within the ADA

component and add no new damages.

RESPECTFULLY SUBMITTED:                              s/ Constance Mann
                                                     ___________________________
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                                                14

   Case 3:17-cv-00677 Document 21 Filed 12/05/17 Page 14 of 14 PageID #: 214
